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 1                                                     THE HONORABLE RICHARD A. JONES

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 5
                                  UNITED STATES DISTRICT COURT
 6                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 7
       UNITED STATES OF AMERICA,                      Case No. 2:18-cr-00092-RAJ
 8
                                       Plaintiff,     ORDER GRANTING DEFENDANT
 9                      v.                            HANSEN’S MOTION TO
                                                      CONTINUE SENTENCING
10     BERNARD ROSS HANSEN,
11
                                       Defendant.
12

13
             THIS MATTER, having come before the Court on Defendant Bernard Ross
14
     Hansen’s Motion to Continue Sentencing, and the Court having reviewed the motion, the
15   Government’s response, and being fully advised, now therefore,
16           IT IS HEREBY ORDERED that the Motion (Dkt. 433) is GRANTED. The
     sentencing hearing for Defendant Bernard Ross Hansen is continued to April 29th at
17
     1:30 p.m.
18

19           DATED this 16th day of March, 2022.
20

21
                                                        A
                                                        The Honorable Richard A. Jones
22                                                      United States District Judge
23

24    ORDER GRANTING MOTION
      TO CONTINUE SENTENCING
      United States v. Hansen, 2:18-cr-0092-RAJ - 1
